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                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


NAKESIA L. THOMPKINS,
                                                             CIVIL COMPLAINT
              Plaintiff,

v.                                                         CASE NO. 8:20-cv-00748

SEQUIUM ASSET SOLUTIONS, LLC,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

          NOW comes NAKESIA L. THOMPKINS (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of SEQUIUM ASSET

SOLUTIONS, LLC (“Defendant”), as follows:

                                      NATURE OF THE ACTION

     1.   Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., and the Florida Consumer Collection Practices Act

(“FCCPA”) pursuant to Florida Statutes §559.55, for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

     2.   This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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  3.   Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Middle District of Florida and a portion of the events that gave rise to this action occurred

within the Middle District of Florida.

                                             PARTIES

  4.   Plaintiff is a consumer over 18 years-of-age residing in Temple Terrace, Florida, which is

within the Middle District of Florida.

  5.   Defendant is a limited liability company organized and existing under the laws of Georgia

and has its principal place of business located at 1130 Northchase Parkway SE, Suite 150,

Marietta, Georgia 30067. Defendant regularly collects upon consumers located within the State

of Florida.

  6.   Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals,       trustees, sureties, subrogees, third-party contractors,

representatives and insurers at all times relevant to the instant action.

                            FACTS SUPPORTING CAUSES OF ACTION

  7.   Prior to the conduct giving rise to Plaintiff’s claims, Plaintiff defaulted on a consumer

debt owed to Charter Communications/Spectrum in the amount of approximately $193.77

(“subject debt”).

  8.   Defendant subsequently acquired the right to collect and/or attempt to collect upon the

subject debt.

  9.   In early 2019, Plaintiff began receiving an onslaught of collection calls to her cellular

telephone number, (813) XXX-6738, from Defendant.




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   10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -6738. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   11. Defendant has called Plaintiff using various phone numbers, including but not limited to

(813) 544-0710, (813) 544-0770, (813) 544-1286, and (813) 544-1236.

   12. Upon speaking with Defendant, Plaintiff was asked to verify her personal information.

Plaintiff felt uncomfortable giving her personal information over the phone so she requested that

Defendant send her correspondence via mail and demanded that Defendant cease contacting her.

   13. Defendant willfully ignored Plaintiff’s demand and has continued placing phone calls to

Plaintiff’s cellular phone up through the filing of the instant action.

   14. Plaintiff has received not less than 28 phone calls from Defendant since asking it to stop

calling.

   15. Frustrated and concerned over Defendant’s conduct, Plaintiff spoke with Sulaiman

regarding her rights, resulting in exhausting time and resources.

   16. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   17. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

emotional distress, embarrassment, anxiety, increased risk of personal injury resulting from the

distraction caused by the harassing calls, increased usage of her telephone services, loss of cellular

phone capacity, diminished cellular phone functionality, decreased battery life on her cellular

phone, and diminished space for data storage on her cellular phone.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   18. Plaintiff repeats and realleges paragraphs 1 through 17 as though full set forth herein.

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   19. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   20. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it

regularly uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer

accounts.

   21. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others. Defendant has been a member of the Association of Credit and Collection

Professionals, an association of debt collectors, since 2009.1

   22. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a

transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

   a.   Violations of FDCPA §1692c(a)(1) and §1692d

   23. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

   24. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being

notified to stop. Defendant called Plaintiff numerous times after she demanded that it stop calling.

This repeated behavior of systematically calling Plaintiff’s cellular phone in spite of Plaintiff’s




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demands was harassing and abusive. The frequency and nature of calls shows that Defendant

willfully ignored Plaintiff’s pleas with the goal of annoying and harassing her.

  25. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to Plaintiff.

         c. Violations of FDCPA § 1692e

  26. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

  27. In addition, this section enumerates specific violations, such as:

             “The use of any false representation or deceptive means to collect or
            attempt to collect any debt or to obtain information concerning a
            consumer.” 15 U.S.C. §1692e(10).

  28. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop

contacting her, Defendant continued to contact Plaintiff. Instead of putting an end to this harassing

behavior, Defendant systematically placed calls to Plaintiff’s cellular phone in a deceptive attempt

to force her to answer its calls and ultimately make a payment. Through its conduct, Defendant

misleadingly represented to Plaintiff that it had the legal ability to contact her when it no longer

had consent to do so.

             d. Violations of FDCPA § 1692f

  29. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

  30. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on

the subject debt by continuously calling Plaintiff numerous times after being notified to stop.

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Attempting to coerce Plaintiff into payment by placing voluminous phone calls without her

permission is unfair and unconscionable behavior. These means employed by Defendant only

served to worry and confuse Plaintiff.

  31. As pled in paragraphs 14 through 17, Plaintiff has been harmed and suffered damages as

a result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, NAKESIA L. THOMPKINS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

  a. Declaring that the practices complained of herein are unlawful and violate the
     aforementioned bodies of law;

  b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
     §1692k(a)(2)(A);

  c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
     under 15 U.S.C. §1692k(a)(1);

  d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
     §1692k(a)(3);

  e. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
     debt; and

  f. Awarding any other relief as this Honorable Court deems just and appropriate.


      COUNT II – VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

  32. Plaintiff restates and realleges paragraphs 1 through 31 as though fully set forth herein.

  33. Plaintiff is a “consumer” as defined by Florida Statutes §559.55(8).

  34. Defendant is a “debt collector” as defined by Florida Statutes §559.55(7).

  35. The subject debt is a “consumer debt” as defined under Florida Statute § 559.55(6).

      a. Violations of FCCPA § 559.72(7)



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   36. A person violates section 559.72(7) of the FCCPA when it willfully communicates with

the debtor or any member of her or his family with such frequency as can reasonably be expected

to harass the debtor or her or his family, or willfully engage in other conduct which can reasonably

be expected to abuse or harass the debtor or any member of her or his family.

   37. Defendant violated section 559.72(7) of the FCCPA when it placed repeated harassing

telephone calls to Plaintiff after she demanded that it stop calling. Instead of abiding by Plaintiff’s

wishes, Defendant placed numerous calls to Plaintiff’s cellular phone after she demanded that it

cease calling her.

   38. Defendant used such harassing conduct in order to dragoon Plaintiff into making a

payment on the subject debt.

   WHEREFORE, Plaintiff, NAKESIA L. THOMPKINS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

     a. Enter judgment in Plaintiff’s favor and against Defendant;

     b. Award Plaintiff her actual damages in an amount to be determined at trial pursuant to
        the Florida Consumer Collection Practices Act, Fla. Stat. §559.77;

     c. Award Plaintiff statutory damages of $1,000.00 pursuant to the Florida Consumer
        Collection Practices Act, Fla. Stat. §559.77;

     d. Award Plaintiff equitable relief, including enjoining Defendant from further violations,
        pursuant to Florida Consumer Collection Practices Act, Fla. Stat. §559.77(2);

     e. Award Plaintiff costs and reasonable attorneys’ fees pursuant to the Florida Consumer
        Collection Practices Act, Fla. Stat. §559.77;

     f. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
        debt; and

     g. Award any other relief this Honorable Court deems equitable and just.


   Dated: March 31, 2020                                       Respectfully Submitted,

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                                             /s/ Alejandro E. Figueroa
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